Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 1 of 8


    United States District Court
                         FOR THE
              NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN FRANCISCO
                                                                           FILED
                                                                             Mar 23 2021

                        UNITED STATES OF AMERICA,                          SUSANY. SOONG
                                                                      CLERK, U.S. DISTRICT COURT
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                        V.                                  SAN FRANCISCO


                        (1) JESSIE ALEXANDER RUSH,
                               a/k/a “Grizzly Actual,”
                        (2) ROBERT JESUS BLANCAS,
                        a/k/a “MuskOx,” a/k/a “Orgotloth,”
                           (3) SIMON SAGE YBARRA,
                               a/k/a “Shepard,” and
                        (4) KENNY MATTHEW MIKSCH,
                         a/k/a “Senpai,” a/k/a “Not ATF,”

                               DEFENDANT(S).                      CR 21-0121 JD


                              INDICTMENT

    18 U.S.C. § 1512(k) – Conspiracy to Destroy Records in Official Proceedings;
      18 U.S.C. § 1512(c)(1) – Destruction of Records in Official Proceedings;
            18 U.S.C. § 1512(c)(2) – Obstruction of Official Proceedings




         A true bill.

         V)RUHSHUVRQRIWKH*UDQG-XU\
                                                            Foreman

         Filed in open court this UG day of0DUFK

         _________________________________.
                          _________
                                 __
                                 _______
                                  _

            Melinda K. Lock __
         ____________________________________________
                             ___
                              ____
                                 _ __
                                    _____
                                       ____
                                          _
                                                 Clerk
         ____________________________________________

                                                           1R3URFHVVDVWR%ODQFDV
                                             Bail, $ _____________
                                             1R%DLO:DUUDQWVIRURWKHUGHIHQGDQWV
         Magistrate Judge Sallie Kim
                  Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 2 of 8




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2

 3

 4

 5

 6                                                                                          FILED
 7                                                                                            Mar 23 2021

                                                                                            SUSANY. SOONG
 8                                    UNITED STATES DISTRICT COURT                     CLERK, U.S. DISTRICT COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA
 9                                 NORTHERN DISTRICT OF CALIFORNIA                           SAN FRANCISCO

10                                        SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                          )   CASE NO. CR 21-0121 JD
                                                        )
12           Plaintiff,                                 )   VIOLATIONS:
                                                        )   18 U.S.C. § 1512(k) – Conspiracy to Destroy
13      v.                                              )   Records in Official Proceedings;
                                                        )   18 U.S.C. § 1512(c)(1) – Destruction of Records in
14   (1) JESSIE ALEXANDER RUSH,                         )   Official Proceedings;
            a/k/a “Grizzly Actual”,                     )
     (2) ROBERT JESUS BLANCAS,                          )   18 U.S.C. § 1512(c)(2) – Obstruction of Official
15
            a/k/a “MuskOx”,                             )   Proceedings
16          a/k/a “Orgotloth”,                          )
     (3) SIMON SAGE YBARRA,                             )   SAN FRANCISCO VENUE
17          a/k/a “Shepard”, and                        )
     (4) KENNY MATTHEW MIKSCH,                          )   UNDER SEAL
18          a/k/a “Senpai”,                             )
            a/k/a “Not ATF”,                            )
19                                                      )
             Defendants.                                )
20                                                      )

21                                              INDICTMENT
22 The Grand Jury charges:

23                                            Introductory Allegations
24           At all times relevant to this Indictment, except where otherwise stated:
25           1.      The “1st Detachment, 1st California Grizzly Scouts” (hereafter “Grizzly Scouts”) was a
26 militia group based in Northern California.

27           2.      Defendant Jessie Alexander RUSH, a/k/a “Grizzly Actual,” was a resident of Turlock,
28 California in Stanislaus County. In or about March or April 2020, RUSH founded the Grizzly Scouts.


     INDICTMENT
                 Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 3 of 8




 1 As “Commanding Officer” of the Grizzly Scouts, he held the rank of “Major.”

 2          3.      Defendant Robert Jesus BLANCAS, a/k/a “MuskOx,” a/k/a “Orgotloth,” was a transient

 3 resident of Castro Valley, California in Alameda County, the City and County of San Francisco, and

 4 elsewhere in the San Francisco Bay Area. He held the rank of “1st Lieutenant” in the Grizzly Scouts

 5 and his responsibilities included security and intelligence.

 6          4.      Defendant Simon Sage YBARRA, a/k/a “Shepard,” was a resident of Los Gatos,

 7 California in Santa Clara County. He held the rank of “Corporal” in the Grizzly Scouts and his

 8 responsibilities included recruitment.

 9          5.      Defendant Kenny Matthew MIKSCH, a/k/a “Senpai,” a/k/a “Not ATF,” was a resident of

10 San Lorenzo, California in Alameda County. He held the rank of “1st Lieutenant” in the Grizzly Scouts

11 and his responsibilities included training and firearms instruction for the group.

12          6.      Steven Carrillo, a/k/a “Armadillo,” a/k/a “Dillo,” was a resident of Ben Lomond,

13 California in Santa Cruz County. He was a member of the Grizzly Scouts and held the rank of “Staff

14 Sergeant.”

15          7.      WhatsApp was a communications application that allowed users to send text messages,

16 photos, audio and video files and internet links to each other, and which also allowed users to form

17 groups. Facebook was a social networking platform that allowed users to, among other things, join one

18 or more networks to connect and interact with other people, post messages for their contacts to see, and

19 update their personal profile to notify contacts about themselves.

20          8.      Between dates unknown to the Grand Jury, but at least as early as on or about April 4,

21 2020 and through at least June 6, 2020, RUSH, BLANCAS, YBARRA, MIKSCH, and other members

22 of the Grizzly Scouts connected via a Facebook group named “/K/alifornia Kommando,” periodically

23 met in person for firearms training and other purposes, and discussed committing acts of violence

24 against law enforcement using WhatsApp and other messaging applications. The Facebook group’s

25 description stated, “they say the west won’t boog,” and that “were [sic] here to gather like minded

26 Californians who can network and establish local goon squads.” The term “boog” was a shortened

27 reference to the so-called “boogaloo” movement. “Boogaloo” is a term sometimes used by certain

28 militia extremists to reference an impending politically-motivated civil war or uprising against the


     INDICTMENT                                          2
                   Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 4 of 8




 1 government. The “boogaloo” is not a single cohesive group, but rather a loose concept, which has

 2 become a rallying point for some extremists.

 3          9.      On May 29, 2020 at about 9:44 p.m., a passenger inside of a white van opened fire and

 4 shot two federal Protective Security Officers (“PSOs”) at the Ronald V. Dellums Federal Building and

 5 United States Courthouse in Oakland, California. One of the PSOs died of his gunshot wounds; the

 6 other sustained serious injuries that required surgery. Carrillo is charged with murder and attempted

 7 murder as the shooter in United States v. Steven Carrillo and Robert Alvin Justus, Jr., Case No. 20-CR-

 8 0265 YGR (N.D. Cal.).

 9          10.     The Grizzly Scouts used a WhatsApp group labeled “209 Goon HQ” beginning on a date

10 unknown to the Grand Jury but no later than June 1, 2020, and the discussions continued through June 6,

11 2020. RUSH created that group. RUSH, BLANCAS, YBARRA, MIKSCH, and Carrillo were all

12 members of that group. On June 1 and 2, 2020, discussions in the WhatsApp group among members of

13 the Grizzly Scouts, including RUSH, BLANCAS, YBARRA, MIKSCH, and Carrillo, repeatedly

14 referenced “boog” and discussed tactics involving killing of police officers and other law enforcement.

15          11.     On June 6, 2020 at about 2:00 p.m., deputies of the Santa Cruz County Sheriff’s Office

16 responded to an address in Ben Lomond, California associated with an abandoned white van. At about

17 2:26 p.m., someone opened fire on the deputies as they approached the property. Two deputies were

18 shot. One died from his injuries. Santa Cruz County Sheriff’s deputies arrested Carrillo nearby, a short

19 time after that shooting. Carrillo is charged with murder, attempted murder, and other offenses arising

20 out of that incident in People of the State of California v. Steven Carrillo, Case No. 20CR02599 (Santa

21 Cruz Super. Ct.). Carrillo appears to have used his own blood to write phrases on a car. Police also

22 seized from Carrillo’s property a ballistic vest. The federal complaint in United States v. Steven Carrillo

23 and Robert Alvin Justus, Jr., Case No. 20-CR-0265 YGR (N.D. Cal.) alleges that the phrases Carrillo

24 wrote in blood, and D patch on his ballistic vest, were consistent with his adherence to the “boogaloo”

25 movement.

26          12.     On August 6, 2020, agents from the Federal Bureau of Investigation (“FBI”) executed

27 federal search warrants on locations associated with RUSH, BLANCAS, YBARRA, and MIKSCH in

28 the Northern and Eastern Districts of California. In the course of searching these locations, agents


     INDICTMENT                                          3
                    Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 5 of 8




 1 located and seized, among other things, assault rifles, pistols, and other weapons; body armor and other

 2 tactical equipment; magazines and ammunition; materials concerning the Grizzly Scouts; and electronic

 3 devices from RUSH, BLANCAS, YBARRA, and MIKSCH. The seized electronic devices contained no

 4 records of the aforementioned “209 Goon HQ” WhatsApp group communications.

 5                                        The Scheme to Obstruct Justice

 6            13.     On June 6, 2020, minutes before the shooting in Ben Lomond, Carrillo exchanged

 7 messages on WhatsApp with the Grizzly Scouts, including on the WhatsApp group labeled “209 Goon

 8 HQ.” During the communications on June 6, 2020, Carrillo told the group that he was preparing to

 9 engage in a shoot-out with law enforcement. Carrillo asked the other Grizzly Scouts to come to his aid

10 saying: “Kit up and get here. Theres inly one road in/out. Take them out when theyre coming in. . . .

11 Police are here fkr me . . . Theyre waiting for reenforcements im listening to them.” Carrillo also

12 admitted to the “209 Goon HQ” group, “Dudes i offed a fed.”

13            14.     RUSH immediately instructed Carrillo on the WhatsApp group to “factory reset” his

14 phone, which would have had the effect of deleting and destroying any evidence on it, including any

15 stored communications.

16            15.     RUSH, BLANCAS, YBARRA, and MIKSCH each, at a time unknown to the Grand Jury

17 but no later than August 6, 2020, deleted records of the “209 Goon HQ” WhatsApp group from their

18 phones, including the prior discussions regarding violence against law enforcement and Carrillo’s

19 message to the group—“Dudes i offed a fed”—indicating that he had killed a federal law enforcement

20 officer.

21            16.     Less than an hour after the shooting in Ben Lomond, BLANCAS deleted twenty files

22 from a Dropbox account. Of the twenty files deleted, nearly all were relevant to the Grizzly Scouts

23 based on a comparison of their filenames to other recoverable artifacts from Dropbox. The deleted files

24 regarding the Grizzly Scouts appeared to include, for example, files concerning the rank structure of the

25 Grizzly Scouts, a non-disclosure agreement requiring members of the Grizzly Scouts to maintain the

26 confidentiality of the group’s materials, a liability release waiver, descriptions of Grizzly Scouts

27 uniforms, and a scorecard to assess members of the Grizzly Scouts with respect to combat, firearms,

28 medical, and other training.


     INDICTMENT                                          4
                  Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 6 of 8




 1          17.     Within hours of the shooting, members of the Grizzly Scouts, including RUSH,

 2 BLANCAS, YBARRA, and MIKSCH began to reconnect on an alternative communications application.

 3 Several of the Grizzly Scout members enabled a “disappearing messages” option on that application, so

 4 that their messages would automatically disappear from others’ phones after a certain period of time.

 5 That evening, certain of the Grizzly Scouts, including YBARRA and RUSH, met in person in Turlock,

 6 California. By the next afternoon, RUSH, BLANCAS, YBARRA, and MIKSCH, and others known and

 7 unknown to the Grand Jury, formed a new group on that platform for members of the Grizzly Scouts,

 8 and they continued to encourage other members to reconnect with them on that platform.

 9          18.     In the weeks following the shooting, members of the Grizzly Scouts, including RUSH,

10 BLANCAS, and others known and unknown to the Grand Jury, repeatedly confirmed with one another

11 that they had destroyed evidence relating to the Grizzly Scouts, of which Carrillo was a member.

12

13 COUNT ONE:               (18 U.S.C. § 1512(k) – Conspiracy to Destroy Records in Official Proceedings)

14          19.     Paragraphs 1 through 18 of this Indictment are re-alleged and incorporated herein.

15          20.     Beginning on a date unknown, but no later than on or about June 6, 2020, and continuing

16 through approximately August 6, 2020, in the Northern District of California and elsewhere, the

17 defendants,

18                                        JESSIE ALEXANDER RUSH,
                                           ROBERT JESUS BLANCAS,
19                                         SIMON SAGE YBARRA, and
                                          KENNY MATTHEW MIKSCH,
20

21 did unlawfully and knowingly conspire with each other, and with others known and unknown to the

22 Grand Jury, to corruptly alter, destroy, and conceal records, documents, and other objects, to wit,

23 materials and communications regarding the “1st Detachment, 1st California Grizzly Scouts” militia

24 group of which Steven Carrillo was a member, or attempt to do so, with the intent to impair their

25 integrity and availability for use in an official proceeding, to wit, the federal grand jury investigation

26 involving the May 29, 2020 murder of a federal protective security officer (PSO) and attempted murder

27 of another federal PSO in Oakland, California and the criminal proceedings before a district court of the

28 United States regarding the same, all in violation of Title 18, United States Code, Section 1512(k).


     INDICTMENT                                           5
                  Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 7 of 8




 1 COUNT TWO:               (18 U.S.C. § 1512(c)(1) – Destruction of Records in Official Proceedings)

 2          21.     Paragraphs 1 through 18 of this Indictment are re-alleged and incorporated herein.

 3          22.     On or about June 6, 2020, in the Northern District of California and elsewhere, the

 4 defendants,

 5                                        JESSIE ALEXANDER RUSH,
                                           ROBERT JESUS BLANCAS,
 6                                         SIMON SAGE YBARRA, and
                                          KENNY MATTHEW MIKSCH,
 7

 8 did corruptly alter, destroy, and conceal records, documents, and other objects, to wit, WhatsApp

 9 messages from a group labeled “209 Goon HQ” from June 1, 2020 to June 6, 2020 associated with the

10 “1st Detachment, 1st California Grizzly Scouts” militia group of which Steven Carrillo was a member,

11 or attempt to do so, with the intent to impair their integrity and availability for use in an official

12 proceeding, to wit, the federal grand jury investigation involving the May 29, 2020 murder of a federal

13 PSO and attempted murder of another federal PSO in Oakland, California and the criminal proceedings

14 before a district court of the United States regarding the same, in violation of Title 18, United States

15 Code, Section 1512(c)(1).

16

17 COUNT THREE:             (18 U.S.C. § 1512(c)(2) – Obstruction of Official Proceedings)

18          23.     On or about June 6, 2020, in the Northern District of California and elsewhere, the

19 defendant,

20                                         JESSIE ALEXANDER RUSH,

21 did corruptly obstruct and impede, or attempt to obstruct and impede, an official proceeding, to wit, the

22 federal grand jury investigation involving the May 29, 2020 murder of a federal PSO and attempted

23 murder of another federal PSO in Oakland, California and the criminal proceedings before a district

24 court of the United States regarding the same, by instructing Steven Carrillo to destroy evidence on his

25 phone, in violation of Title 18, United States Code, Section 1512(c)(2).

26

27 COUNT FOUR:              (18 U.S.C. § 1512(c)(1) – Destruction of Records in Official Proceedings)

28          24.     On or about June 6, 2020, in the Northern District of California and elsewhere, the


     INDICTMENT                                            6
                 Case 3:21-cr-00121-JD Document 1 Filed 03/23/21 Page 8 of 8




 1 defendant,

 2                                         ROBERT JESUS BLANCAS,

 3 did corruptly alter, destroy, and conceal records, documents, and other objects, to wit, files regarding the

 4 “1st Detachment, 1st California Grizzly Scouts” militia group stored on Dropbox and elsewhere, or

 5 attempt to do so, with the intent to impair their integrity and availability for use in an official

 6 proceeding, to wit, the federal grand jury investigation involving the May 29, 2020 murder of a federal

 7 PSO and attempted murder of another federal PSO in Oakland, California and the criminal proceedings

 8 before a district court of the United States regarding the same, in violation of Title 18, United States

 9 Code, Section 1512(c)(1).

10

11 DATED: March 23, 2021                                           A TRUE BILL.

12

13                                                                  /s/
                                                                   FOREPERSON
14
   STEPHANIE M. HINDS
15 Acting United States Attorney

16
    /s/ Eric Cheng & Frank Riebli
17 ERIC CHENG
   FRANK RIEBLI
18 Assistant United States Attorneys

19

20

21

22

23

24

25

26

27

28


     INDICTMENT                                            7
